18-11094-scc     Doc 35     Filed 05/09/18    Entered 05/09/18 11:20:31                Main Document
                                             Pg 1 of 2
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                                                            May 9, 2018

VIA ECF

Judge Shelley C. Chapman
United States Bankruptcy Court
Southern District of New York
Courtroom 623
One Bowling Green
New York, NY 10004-1408

               Re:    In re: Perforadora Oro Negro, S. de R.L. de C.V. et al. (Case No. 18-
                      11094).

Dear Judge Chapman:

        We represent SeaMex Ltd. (“SeaMex”), a competitor of Perforadora Oro Negro, S. de
R.I. de C.V., and Integradora de Servicios Petroleros Oro Negro, S.A.P.I. de C.V. (collectively,
the “Oro Negro Entities”). On April 20, 2017, Alonso Del Val-Echeverria (“Petitioner”), in his
capacity as foreign representative of the Oro Negro Entities, filed a motion [ECF No. 16] (the
“Motion”) seeking, among other provisional and additional relief under Sections 1519 and 1521
of the Bankruptcy Code, leave to conduct discovery pursuant to Section 1521(a)(4) of the
Bankruptcy Code and Rule 2004 of the Federal Rules of Bankruptcy Procedure, which we
understand is returnable May 9, 2018 at 4:00 PM. By this letter, we request a one-week
extension of the current deadline to object or otherwise respond to the Motion, as well as a
corresponding adjournment of the hearing currently scheduled for May 14, 2018, to the extent
that the hearing will address discovery issues affecting SeaMex.
        We were retained on Thursday, May 3 and the following day contacted counsel for
Petitioner to request the modest extension set forth above to file objections to the Motion,
including its request for leave to serve discovery on SeaMex pursuant to the Motion and to the
motion seeking recognition of the Concurso Mercantil. Petitioner’s counsel refused our request,
consenting only to a one-day extension (until Wednesday, May 9). Counsel for Petitioner
suggested a willingness to revisit the issue of a longer extension once we were able to advise
them whether SeaMex intended to submit an objection to Petitioner’s application for recognition
of the Concurso Mercantil.
        Yesterday, we advised the Petitioner’s counsel that SeaMex does not intend to submit an
objection regarding recognition, but rather intends to object solely to the Motion with respect to
discovery. Nevertheless, Petitioner again agreed only to a single-day extension – from May 9 to
May 10 – for SeaMex to submit objections.


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 18-11094-scc      Doc 35     Filed 05/09/18    Entered 05/09/18 11:20:31        Main Document
                                               Pg 2 of 2


Judge Shelley C. Chapman
May 9, 2018
Page 2


          There is every reason to permit SeaMex a reasonable amount of time to investigate and
  prepare its objections and no need for the expedited schedule on which Petitioner insists:
  SeaMex is not a party to this proceeding; SeaMex only recently learned that Petitioner intends to
  seek discovery from it; SeaMex only recently engaged counsel; and SeaMex receives only scant
  and cursory mention (at best) in Petitioner’s allegations. Counsel for Petitioner has been unable
  to articulate any harm to it that would result were the hearing on its discovery requests against
  SeaMex postponed by a mere week.
          Accordingly, SeaMex respectfully requests that the Court extend its time to file
  objections to the Motion until May 16, 2018 and adjourn the hearing on SeaMex’s objections to
  a subsequent date. SeaMex reserves all its rights, including its right to make objections based on
  lack of personal jurisdiction.
                                                       Respectfully,



                                                       Jay S. Auslander




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